        Case 1:24-cv-05072-NRM-JAM Document 7 Filed 07/23/24 Page 1 of 3 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                 FREEPLAY MUSIC, LLC,                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. :24-cv-05072-NRM-JAM
                                                                     )
ACTIVE INTEREST MEDIA HOLDCO, INC., ACTIVE                           )
  INTEREST MEDIA INC., and SAIL MAGAZINE,                            )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Active Interest Media Holdco, Inc.
                                           c/o The Corporation Trust Company
                                           Corporation Trust Center
                                           1209 Orange Street
                                           Wilmington, DE 19801



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Abrams Fensterman, LLP
                                           Seth L. Berman, Esq.
                                           3 Dakota Drive, Suite 300
                                           Lake Success, New York 11042



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    07/23/2024                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
        Case 1:24-cv-05072-NRM-JAM Document 7 Filed 07/23/24 Page 2 of 3 PageID #: 26

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                 FREEPLAY MUSIC, LLC,                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. :24-cv-05072-NRM-JAM
                                                                     )
ACTIVE INTEREST MEDIA HOLDCO, INC., ACTIVE                           )
  INTEREST MEDIA INC., and SAIL MAGAZINE,                            )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Active Interest Media, Inc.
                                           c/o The Corporation Trust Company
                                           Corporation Trust Center
                                           1209 Orange Street
                                           Wilmington, DE 19801



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Abrams Fensterman, LLP
                                           Seth L. Berman, Esq.
                                           3 Dakota Drive, Suite 300
                                           Lake Success, New York 11042



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    07/23/2024                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
        Case 1:24-cv-05072-NRM-JAM Document 7 Filed 07/23/24 Page 3 of 3 PageID #: 27

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                 FREEPLAY MUSIC, LLC,                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. :24-cv-05072-NRM-JAM
                                                                    )
ACTIVE INTEREST MEDIA HOLDCO, INC., ACTIVE                          )
  INTEREST MEDIA INC., and SAIL MAGAZINE,                           )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Sail Magazine
                                           2143 Grand Avenue
                                           Des Moines, IA 50312




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Abrams Fensterman, LLP
                                           Seth L. Berman, Esq.
                                           3 Dakota Drive, Suite 300
                                           Lake Success, New York 11042



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


Date:    07/23/2024                                                           s/Kimberly Davis
                                                                                         Signature of Clerk or Deputy Clerk
